8:05-cr-00131-LSC-TDT       Doc # 453     Filed: 07/14/10     Page 1 of 1 - Page ID # 2284




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )             CASE NO. 8:05CR131
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                    ORDER
                                              )
PABLO REZA LANDIN,                            )
                                              )
              Defendant.                      )

      This matter is before the Court on the Defendant’s motion for reconsideration (Filing

No. 452) of the denial of his motion filed under 28 U.S.C. § 2255. The motion was carefully

considered.

      IT IS ORDERED:

      1.      The Defendant’s motion for reconsideration (Filing No. 452) is denied; and

      2.      The Clerk is directed to mail a copy of this order to the Defendant at his last

              known address.

      DATED this 14th day of July, 2010.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
